Case 2:96-cV-02520-.]PI\/| Document 838 Filed 06/22/05 Page 1 of 3 Page|D 1619

F|!.ED 8 __“ 'g_C_
IN THE UNITED sTATEs nrs'rn:c'r cotm'r
FoR THE wEsTERN DIs'rRIcT or TENNESSEE 05 JUN 22 PH#Z; gt
wEsTERN nIvIs:coN

YEEPT OL, L,O
4 us
WD met ct

DARIUS D. LITTLE, FTN MEMPH:s

Plaintiff,
NO. 96-2520 Ml

v-

SHELBY COUNTY, TENN'ESSEE,
et al.,

Defendants.

Vvvvvvvvvv`i

 

ORDER SETTING STATUS CONFERENCE

 

The Court will hold a status conference on Thursday, June
30. 2005, at 9:00 a.m. to discuss the entry of an order resolving

all matters in this case.

So ORDERED thisézk th day of June,02021 

 

JO P. MCCALLA
TED STATES DISTRICT JUDGE

This document entered on the docket sheet In comé)liance §§
with Hule 58 and/or 79(a) FHCP on

   

UNIED STATESDISTRIC COURT - \)VESRNTE DITRICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 838 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
.1 une 22, 2005 to the parties listed.

 

 

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Case 2:96-cV-02520-.]PI\/| Document 838 Filed 06/22/05 Page 3 of 3 Page|D 1621

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

